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     C.P., Petitioner  v.  City of Arvada. Respondent No. 24SC772Supreme Court of Colorado, En BancApril 28, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      Jefferson County District Court Case No. 24CV30685
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      DENIED PETITIONS FOR WRIT OF CERTIORARI
    
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    